Case 3:06-cr-00117-WQH      Document 388       Filed 09/27/07     PageID.1349       Page 1 of 2



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   8                               UNITED STATES DISTRICT COURT

   9                             SOUTHERN DISTRICT OF CALIFORNIA

  10    UNITED STATES OF AMERICA,             )          Case No. 06cr0117-WQH
                                              )
  11                      Plaintiff,          )          ORDER ON JOINT
              v.                              )          MOTION FOR ISSUANCE
  12                                          )          OF AN ORDER OF CRIMINAL
        KIM CARTER,                           )          FORFEITURE
  13                                          )
                          Defendant.          )
  14    _____________________________________ )

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  16           Having reviewed the foregoing Joint Motion and good cause appearing therefor,

  17           IT IS HEREBY ORDERED, ADJUDGED and DECREED:

  18           The Joint Motion is approved.

  19           1.     On or about January 24, 2006, an Indictment was returned against the above-named

  20    Defendant, KIM CARTER ("Defendant"). The Indictment charged the Defendant with Conspiracy

  21    to Distribute Cocaine, in violation of 21 U.S.C. §§ 846 and 841(a)(1), and Criminal Forfeiture

  22    pursuant to 21 U.S.C. § 853. On or about December 5, 2006, a Superseding Information was filed

  23    against the Defendant.

  24           2.     On or about May 7, 2007, the plea of Defendant to the Information was accepted

  25    by the U.S. District Court. The Information charged the Defendant as follows:

  26           Beginning at a date unknown to the grand jury and continuing up to and including
               October 30, 2005, within th Southern District of California, and elsewhere,
  27           defendant Kim Carter, aka K.C., did knowingly and intentionally conspire with
               other persons known and unknown to the grand jury to distribute 500 grams or
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Case 3:06-cr-00117-WQH       Document 388         Filed 09/27/07       PageID.1350        Page 2 of 2



   1           more, to wit: 3 kilograms of cocaine, a schedule II controlled Substance, in
               violation of Title 21, United States Code, Sections 846 and 841(a)(1).
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   3           In addition, the Defendant agreed to forfeit all right, title, and interest in the following

   4    asset, which is property constituting and/or derived from proceeds the Defendant obtained directly

   5    or indirectly as the result of the commission of the violation of Title 21, United States Code,

   6    Sections 846 and 841(a)(1): $50,000.

   7           3.      The Court finds that, by virtue of the facts set forth in the plea agreement, the

   8    requisite nexus exists between the forfeited property and the offense.

   9           4.      By virtue of the admissions of the Defendant set out in the his plea agreement and

  10    guilty plea, the Court has determined that $50,000 (U.S. dollars) represents the drug proceeds

  11    received by Defendant while engaging in conspiracies to distribute cocaine as charged in the

  12    Superseding Information.

  13           8.      Defendant KIM CARTER forfeits to the United States the sum of $30,000 pursuant

  14    to Title 21, United States Code, Section 853(a)(1).

  15           9.      Defendant KIM CARTER shall forfeit to the United States an additional $20,000

  16    pursuant to Title 21, United States Code, Section 853(a)(1).

  17           10.     The United States District Court shall retain jurisdiction in the case for the purpose

  18    of enforcing this Order.

  19           11.     Pursuant to Rule 32.2(b)(3), this Order of Forfeiture shall be considered final as to

  20    the Defendant as of the date of his sentencing, to wit, May 7, 2007, and is part of the sentence and

  21    included in the judgment.

  22           12.     The United States may, at any time, move pursuant to Rule 32.2(e) to amend this

  23    Order of Forfeiture to substitute property having a value not to exceed $20,000 to satisfy the

  24    money judgment in whole or in part.

  25    DATED: September 27, 2007

  26
                                                          WILLIAM Q. HAYES
  27                                                     United States District Judge

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